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-

NOTICE OF AND RESCISSION OF NOTICE TO THE COURTS TO RECOGNIZE MY
STANDING AS ONE OF WE THE PEOPLE AND ABIDE BY THE CONSTITUTION
OF 1787 AND THE BILL OF RIGHTS 1791, THE AFFIANT HEREBY DISSOLVES
AND TERMINATES ANY FRANCHISE AGREEMENTS CONNECTED WITH THE BIRTH
CERTIFICATE OR TRUST INSTRUMENT ORIGINATING AT THE CALIFORNIA
STATE REGISTRAR AND DISMISS CASE NOS. 10-cr-00317-REB AND
10-cv-01073. AS THE EXECUTORY OF THE RICHARD KELLOGG ARMSTRONG
ESTATE, I AM DIRECTING THE COURT TO DISMISS BOTH CASES WITH
PREJUDICE AND CHALLENGES THE VALIDITY OF THE INDICTMENTS, THE
VALIDITY OF THE CHARGES AND THE AUTHORITY OF THE IRS FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 177 Field 03/29/11 USDC Colorado Page 1 of
29 March 24, 2011 Case No. 10-cr-00317-REB Case No. 10-cv-01073 NOTICE TO THE COURTS TO
RECOGNIZE MY STANDING AS ONE OF WE THE PEOPLE AND ABIDE BY THE CONSTITUTION OF 1787 AND
THE BILL OF RIGHTS 1791, THE AFFIANT HEREBY DISSOLVES AND TERMINATES ANY FRANCHISE
AGREEMENTS CONNECTED WITH THE BIRTH CERTIFICATE OR TRUST INSTRUMENT ORIGINATING AT THE
CALIFORNIA STATE REGISTRAR AND DISMISS CASE NOS. 10-cr-00317-REB AND 10-cv-01073. AS THE
EXECUTOR OF THE RICHARD KELLOGG ARMSTRONG ESTATE, I AM DIRECTING THE COURT TO DISMISS
BOTH CASES WITH PREJUDICE AND CHALLENGES THE VALIDITY OF THE INDICTMENTS, THE VALIDITY
OF THE CHARGES AND THE AUTHORITY OF THE IRS, Page 2 of 29, Page 3 of 29, Page 4 of 29,
Page 5 of 29, Page 6 of 29, Page 7 of 29, Page 8 of 29, Page 9 of 29, Page 10 of 29,
Page 11 of 29, Page 12 of 29 March 24, 2011 Richard Kellogg Armstrong, Page 13 of 29,
Page 14 of 29 9th day of March, 201] Richard Kellogg Armstrong, Page 15 of 29 1, Page

16 of 29 2, Page 17 of 29 3, Page 18 of 29 4, Page 19 of 29 5, Page 20 of 29 6, Page

21 of 29 7, Page 22 of 29 17th day of June, 2010, Richard Kellogg Armstrong 21st day of
June, 2010 Richard Kellogg Armstrong 24th day of March, 2011 Ricahrd Kellogg Armstrong
8, Page 23 of 29 1:10-cr-00317-REB 1, Page 24 of 29 2, Page 25 of 29 3, Page 26 of 29
Richard Kellogg Armstrong 4, Page 27 of 29 Richard Kellogg Armstrong 5, Page 28 of 29
24th say of March, 2011 Richard Kellogg Armstrong 6, Page 29 of 29"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "supra" including every copy bearing
my signature and date, for cause. I made a mistake creating, signing and presenting the
NOTICE TO THE COURTS TO RECOGNIZE MY STANDING AS ONE OF WE THE PEOPLE AND ABIDE BY THE
CONSTITUTION OF 1787 AND THE BILL OF RIGHTS 1791, THE AFFIANT HEREBY DISSOLVES AND
TERMINATES ANY FRANCHISE AGREEMENTS CONNECTED WITH THE BIRTH CERTIFICATE OR TRUST
INSTRUMENT ORIGINATING AT THE CALIFORNIA STATE REGISTRAR AND DISMISS CASE NOS.
10-cr-00317-REB AND 10-cv-01073. AS THE EXECUTOR OF THE RICHARD KELLOGG ARMSTRONG ESTATE
I AM DIRECTING THE COURT TO DISMISS BOTH CASES WITH PREJUDICE AND CHALLENGES THE VALIDITY
OF THE INDICTMENTS, THE VALIDITY OF THE CHARGES AND THE AUTHORITY OF THE IRS. I repent

_— FILED
NITED STATES DISTRICT COURT
u Tm ORADO

I willingly, knowingly, voluntarily, intentionally and intelligent DENVERorn ep, act

“ee JAN 17 2014

JEFFREY P. COLWELL
Page 1 of 2 CLERK

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March 24, 2011

BY _ rue

 

  
     

DISTRICT court IRE UNITED STATES
Certified mail #
UNITED STATES 0! ERICA. ” \ e No. 10-cr-00317-REB
v. S& No. 10-cv-01073
RICHARD KELLOG TRONG ~
NOTICE TO THE TO RECOGNIZE MY STANDING AS ONE ORWE TNE PEOPLE AND ABIDE BY THE ON OF 1787 AND
THE BILL OF RIG 91, THE.AFFIANT HEREBY DISSOLVES AND #ERMINATES ANY F RANCHISE AGRE D WITH THE

 

BIRTH CERTIFICA UST INSTRUMENT ORIGINATING AT THE SALIFORNIA STATE REGISTRAR AND 10-cr-00317-
REB AND 10-cv-01 THE EXECUTOR OF THE RICHARD KELLOGS ARMSTRONG ESTATE, | AM DIRE THE O DISMISS
BOTH CASES W ICE AND CHALLENGES THE VALIDITY ORNHE INDICT. MENTS, THE VALIDITY OF RGES AND THE
AUTHORITY OF TI , .

NOTICE TO PRINCIPAL IS NOTICE TO AGENT AND NOTISE TO AGENT 1S NOTICE TO PRINCIPAL

REQUEST THAT THE COURT R x IZE
Haines v. Kerner, 519, 30 Led 652, 92 S.Ct 594 Rel den “Sy 8, 30, Led 2d 819, 92 S.Ct 963
COMES NOW: Ride! Kellogg Armstrong, Sui Juris, a native born Aree, One of the People, who by Aemtagigration as a citizen
of the Republic of tae united States of America and a State Citizen epublic of Arizona is a man sjanding on the land
evidenced by my fil my UCG-1 as well as other legal notarized\ocuments that have been recorde§ &t We Arizona Secretary
of State and nume er state, federal and international agerteie}s These notices have rescinded any@nd @ll adhesion contracts
with the Federal a Corporate Governments (See Www. tike.info/rka.html as public notice).
& States, but have force only in theWDistiict of Columbia and

    
  
   

As a Sovereign, th Congress do not extend into the limits o
places that are withi xclusive jurisdiction of the nationalgove nt (See: Caha v. U.S.). The Sov@&aign is only bound to the

constraining certainty of the united States Constitution 1787, itself aad abgolutely nothing else except th of the Almighty God
[ELHOIM] who created the Heavens and the Earth. This Sovereign bows his knees to none other.

The accused has beentindiated on charges of fraud, mail fraud and spray by the IRS and defended by DOJ stating that the
accused entered into a scifeme and artifice to defraud and to obtain oney and property by means of fal id fraudulent material
pretenses and represgMtations by the IRS through the submission of claims for federal income tax refulds. These charges
unlawfully brought a the accused by an agency of a foreign goveament are deemed to be Neowin No and false by
the claimants. The 15 1 NDT.AN AGENCY OF THE UNITED STATES G VERNMENT and the DOJ has no Congressional authority to
represent/defend them in @urt. \

  
   
   
 
   
 

Fraud upon the court nullifies any final decision by any court. Its or
Colorado has an obligation to dismiss this case with prejudice and r
Constitution are inviolved, there can be no rule making or legjslat
436, 491: 86 S.Ct 1602: Ed 2d 694, 1966). The violations and c:

Colorado, Supreme Court of the United States, Colorado Supreme Court and the Colorado Court of Appeals.

Any judge or attorney who does not report a crime that has been brought to their attention and fails to report that crime as

required by law, may themselves be guilty of misprison of treason (See: 18 U.S.C., Section 2382 under Federal law). These are the
laws they must follow as federal employees.

The prosecution presented false and misleading evidence to the Federal Grand Juries to obtain indictments. The record in this case

from the Grand Jury transcripts will show a practice of deception, fraud and misrepresentation by the IRS Agent, Greg Flynn and
the AUSA, Kenneth Harmon.
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While the affiant has been detained in Federal Custody, the affiant has presented evidence to the court of my challenge of
jurisdiction as well as declaring my political standing as a sovereign whose geneology dates back to 1748 which was before the
signing of the Constitution of the Republic 1787, This qualifies that Richard Kellogg Armstrong is a Sovereign and not a corporate
fiction, who cannot be tried in the territorial courts of the corporate fictions of the UNITED STATES OF AMERICA. This is verified by
the Government's filing of its corporate charter. UNITED STATES OF AMERICA IS A CORPORATION, foreign to the united States (See:
Title 28 USC, 3002(1

Richard Kellogg Armst reby understands that the cause of action cannot be in common law because a crime in law requires a

corpus delecti, that igto say, ody of the crime or an injured arty. A corporation cannot be the body of the crime or an

injured party because J%\s artificial, a fiction. All cases in law, eq admiralty or maritime, are now classified as CIVIL ACTION,

Rule 17(1)(a). Civil and admiralty actions require a contra ween the plaintiff and nt for the plaintiff to

have standing to bring ction. For the plaintiff to have Standing a e Court to have jurisdicti subject matter,
ce a bona fide contract binding the accused %to i

there must be in exis
signed any contract obligation that binds him to the maritimeor ad ralty jurisdiction. The noWonvey any
the United States or any State. X

interest, right or him

The affiant is being nlawfully against his wit, which is kidnapphig. The U.S. District Court lacks A over a sovereign
of the Republic of th States and the Republic of Arizona. territorial courts operate und jraity law that
conducts itself under tory rules and regulations. No higher duty fasts upon this court than to exe fil authority to prevent
all violations of orm of the Constitution (See: Downes v. Bi&\ell 182 U.S. 244, 1901). The on officers of this

     
  
    
  

   

court are aware of tus, but have continued to violate their oath overthrow the Constitution n&grotect a corrupted
system against the AméWgan People, for their own financial gain.

The affiant is NUNC PQQ TUNC. The facts are that | am the principal a are the agent. Fail not you Mia, lest you will be

   
   
   
 
 

called to answer befor ighest Court of Intemational Law. The d conditions of this instrumén presentment
[Notice] puts liabili u and those acting in conjunction jointly severally with the cparaon with your
unauthorized use oy in all capital letters and/or in upper and r case lettering will be taken 3 a Fiolation of my
Privacy rights and foommon taw copywrited property rights. The pe: r said unautorized use is s&& fom as in my UCC-1,

Memorandum of Law ang Caveat Miranda Warning that was recorded at hington Secretary of Stat@wofi e, UCC-1
#RKAUCC0001, June 8, he documents will show that Richar ‘elfggg Armstrong has rescinded, reWked and cancelled any
and all adhesion cont th the Federal Government of the Un es. Your all-capitai-letter stra n (tradename) that is
a fiction name created e bankrupt corporation, United States\Gdyve: ent, is fraud by deception. Since the time of my birth,
the government has b ng my birth certificate without my knowledge or permission. One example Cy the acceptance for
value of a document the Creditor TRADENAME in all capital letters. The source of all credit and ability (value)
associated with the E from which the TRADENAME was derived:

   
  
 
  

 
   

VERIFICATION UPON OATH OF AFFIRMATION J

Private Sovereign, Sui ARN gcigencus Armstrong, the Nationality Act ph 1940,
.*

 
  
  
   
   
 
  

| am Richard Kellogg rong, Private Sovereign Sui Juris, who has de

Clar@d|his sovereign Diplomatic Immunity from the
corporate United State nment UCC-1-207, UCC-1-308, UCC-1-103. 28

FR 16.4161, 28 USC 1746(1).

The jurisdiction Richard Kel g Armstrong is exercising is the “Internationa
that it is inside the and on the Soul. Therefore, | am a Private Citi
public citizen of the United States. In the international jurisdiction as he
therefore | am owner of the roadways and highways in the capacity-e

risdiction” which is internal and Private, meaning

Ey of the continental united States Republic and not a

dey of Preferred Stock, | am the alloidal land owner and
vereign, a Private Citizen of the united States of America.

1 am not a Citizen of the United States and subject to its jurisdiction. | am a natural born flesh-and-blood Citizen of one of the

Organic, de jure, fifty Republic States of the Continental united States of America, over which the Sovereignty of the United States
does NOT extend. . ,
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The IRS is not an organization within the United States Department of the Treasury and is not an agency of the United States
Government. The U. S. Dept. of the Treasury was organized by statutes now codified in Title 31 of the United States Code,
abbreviated "31 U.S.C.” }
to appoint an assistant Beneral Counsel in the U.S. Dept e Treasury to be the Chief Counsel for the IRS (See 31 U.S. C.
301(f)(2). .

   
 
    

At Footnote 23 in th of Chrysler Corp. v, Brown, ais
Act for the IRS could be , after they searched for such
Since there was no orga ct creating it, IRS is not a lawful ization.

C

The IRS appears to RNY tion agency working for ae such as the Federal Reserv

    
    
 
 

ank\ and operating out of
‘declared unconstitutional
because Prohibition had

 
   
  

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Puerto Rico under colo Federal Alcohol Adaministration. ("FAA") . But the FAA was Prompt
inside the 50 states by TUS. Supreme Court in the case of WS. v. Constantine, 296 U.S. 287 (193
already been repealedaay \

  
   
 

ww identified a second “Secretary of the reasury” as a man by the
lay See the definitions of "Secretary" an cretary or his delegate” a FR 26.11 (formerly 27 CFR
guecision in Used Tire International, Inc\v. Manual Diaz-Saldana, court ckey number 97-2348,

September 11, 1998. BotiTWefinitions mention Puerto Rico.

in a pattern of racketeeri Ctivity, in violation of 18 U.S. C. 195 1961 et seq. ("RICO"). ‘ii Puerto Rico (Racketeer

When alt the chtee gv objectively, IRS appears to money laundry, extortion racket, and conspiracy to engage
influenced and Corrupt XK" Act): in other words, it iyan rga crime syndicate Ee false and fraudutent

pretenses.

After much diligent research, several investigators have cont that there is no known Act &f Zon ess, nor any Executive
Order, giving IRS lawful jugisdiction or a delegation of authority to te within any of the 50 States of Whe Union, making

anything they have done e this case out of thin air quill andivoid\ IRS Cannot produce a copWof a DBlegation of Authority to
be in Colorado or Arizona ‘

 
    
   
   
  

their outgoing mail to the
is intended to convey
eral laws prohibit the
ACCUSED BY THE IRS,
nt from IRS with

The IRS has committed ntwerous instances of Mail Fraud by sholving Department of the Treasu
accused who has retained the envelopes as evidence. It is’

the false impression nat lawful bureau or department wi

    
   

use of United States maii udulent purposes (SEE THE CHARGROF MAIL FRAUD PERPETRATED (
Title 18, U.S. C, Section 98 1)(c) and Title 28 U. 5. C. Section c)). Every piece of U. S.
“Department of the Treasury” in the return address, is one count of fraud.

Although the U.S. Dep. t of Justice ("DOJ") does have pow
courts, the IRS is not an “a as that term is legally defined in

Procedures Act. The gove nts of all federal Territories ar pr
Congress. See U.S. C. 551 (C).

Of] attorney to represent federal agencies before federal
reedom of Information Act or in the Administrative
ly excluded from the definition of federal “agency” by Act-of

Since IRS is domiciled { 0 Rico, it is thereby excluded fron} the definition of federal agencies which can be represented by
the DOJ.
@

The IRS invariablly ignores Due Process of Law, as is the case with the accused. No Property can be taken without a 4th
Amendment Warrant or without 5th Amendment Due Process of Law which includes, but is not limited to a Right to a Valid 23C
Assessment, followed by a VALID Notice of Deficiency, followed by a VALID Notice of Lien based on an ACTUAL lien , followed bya
VALID "Warrant of Distraint”. None of these Due Process elements were honored by the IRS in their filings of Notices of Liens with
the Yavapai County Recorder and the Mohave County Recorder, Arizona, affecting the accused' real Property, the filing of a lis
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pendens on real property located in Adams County, Colorado, the filing of a Notice of Levy with Bank of America on the accused!
checking account and the unlawful seizure of the accused’ aircraft May 20, 2010. All of the above violations are crimes committed
by the IRS and there is no evidence to the contrary.

    
     
 
 

The IRS regulartffiles fraudulent "Notice of Lien’. The "Notice of Lien” is from 26 U.S.C. 6321- 6331 BUT its alleged authority is
FRAUDULENTLY frdfn BATF's 27 CFR Part 70.

Fair Debt Coll
registered with the
properly filed 23c

ct requires that all collection agencies register with the State and there is no evidence that the IRS has
Arizona . A” Notice of Lien” must cted with an actual Lien and must be supported by a
sment. IRS must prove this was accomp

   
  
 
   
  

\
e CERTIFIED to be true and correct by the tary of the Treasury or delegate. IRS must

N ’
The filing of song “Notice of Lien” is a CRIME com Son the State and, per Art!

the U.S. Constitutio be heard in a State court and cannot transferred to a Federal Court.

 
   
   
 
  
  
 

The accused Due
accused’ property
Court, Phoenix, Ariz
accused real properties)
the seizure of the accus
process of law. The |

their lack of a valid court order. R acquired Certificates of Sea

ow no court orders were obtained by the r any other agency authorizi eWens placed on the

e levies placed on the accused ‘Bank (America checking account with the resultaft seizure of funds or
aircraft. The Fifth Amendment prohibits all derivations of life, liberty gf without due

is also fn violation of the Fourth and Seve: ndments to the Constitutuia 178 Mend the Bill of Rights

ficial records and committed other cain acts, and there is no evidende to contrary. The IRS is

funds from Bank of America and theft. -\. registered aircraft, a f@lgral crime.

   
   

hereby charged with

As best as | can tel! Wis whole misunderstanding centers around tnd eo filing Original Issue Discount (OID) with the IRS.
Without that issue presggt, there is really nothing else to discus N
MS

Over the past few yea Ay people around the country becal of the OID issue. You can read about it in the tax code at
26 USC 1271 - 1275 and and in various IRS publications such as ublication 1212 - Guide to Origina} Issue Discount (OID)
instruments, instructio forms 1099-INT and 1 099-O1D, Publication 550 - Investment Income and (Including Capitat
Gains and Losses) - Chap . and 4., etc. You can also read a ID at33A Am Jur 2nd.

xh

OID certainly is not an t is new. People have claimed it a ithe IRS has paid it out for years. why ail of the sudden

resistance fram the IRS? sible that with so many learning abait OID, that the IRS simply does not them to know? Or, is
S * . . .

the IRS trying to protect ceftain interests?
of original issue discount an ISSUANCE OF

Since OID is at the heart is controversy, here is a simple explana
CREDIT, NOT A TAX RE! ie Original Issue Discount is an actual t from the face value of a instrument. Since .
Operated in the past under thebelief that our money was

1933 there has been no | money in this country. Whereas, we h.

backed by something, in®&ct, the financial system of this country has. been based on the full faith and cre of the American
people. Since money was ed or converted to a fiat currency, nly value is what we Perceive it to ha¥e and what we give
for it.

  
   
 

   
   
     
   
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As you can see, ther
it. Understanding th:
filing of 1099-O1D forms,
legal, not to mention

uirement to report the OID, and banks have not been reporting it and have not been paying the tax on
the OID issue, ! was required to report it. When | filed my personal retums, which included the
d with the assistance of a tax accountant, | did so convinced that what | did was correct and perfectly
by the Tax Code. If mistakes were made in the filing of the forms, the IRS should have advised me.

The forms 1099-OID t
the source, issued cr from whom the amount of the credit sh in‘Rlock 1 must be return
statement by me that S. Department of the Treasury owed me
amounts from the ag der and in turn forward to me. if the IRS

eof the bank to whom I, as
lo you find any
collect those

   

     

banks/lenders, it was option. Many months later the IRS sent m tice that they had paid me
return of the funds. N

(

rsonally owe me the amounts of the ond they know that I did not expect them to dig into the
id pay me such amounts - my OID clearly states so. So why have they ae fraudulent
twel

   
   

The IRS knows that 4
pocket of the U.S. Tr

charges that | have b arged with? However, to alleviate any problems with the IRS and because oft 4 system is based
only around credit and defMjnstruments (See HJR-192 abd PL 73-10, 193 wife and | together issu valid Acceptance
for Value instruments as well as three International Bills of Exchange totalli proximately $8 millio fy the approximate

    
   

L
Ss
5, 2006 and 2007. All were se&t via AS. Certified mail

with return receipts to the IRS offices located in Austin, Texas or Washi ton, DC. The IRS has neQer ackfowledged receipt
of any of those instrume 1 have U.S. Mail return receipts proving e delivered. As they wer instruments to be
Processed through the Reserve System, it is my belief that the | id Fadeed “cash” them. In ordbr to refute my claim, |
demand that the IRS edu he fifteen original instruments within ten ( days of the date of this Not rivil Case No. 10-cv-
01073 must be summarily dismissed. Those instruments represent an “ove ent” of approximately $6.4#millidb so | would expect

$1.65 million the IRS ota to be returned covering the tax years

   
 
  

    
  
  
  
 
    
   
  

to receive a refund check for that amount. Concurrently, all liens and levi wfully placed by the | our real and personal
property should be remo @ approximate $10,000 unlawfully seized fram our Bank of America accotint tumed and our
U.S. FAA registered aircr; at was unlawfully seized May 20, 2010, be Patulmed. This applies to any o realJpr personal
property pertaining to th that the government is attempting to re ;
All parties are hereby notiff@that all of the accused and his wife's real and personal property were secu the filings June 8,
2009, of UCC-1 #RKAUC Commercial Security Agreement #RKACSA000f and Legal Notice and Dem D0001. Fited
concurrently were a Hold ess and Indemnity Agreement #RKAHHIAQ0O4 and » Actual and Construct lotice #RKAACNO001
that prove that | am a Secured Party Creditor and not a created. fiction indigating that the Federal Govern has no authority
over a flesh-and-blood living soul. This court and this prosecution proceeding any further in these cases be in violation of their
of treason,

oaths of office and will ilty of overthrowing the Constitution 1787 and tye court and prosecution will b
sedition and perjury. Ss a

So, if the IRS paid me ouftef U.S. Treasury funds, how is it that the indepen
which | did not request, r which they had no obligation to do, has been,t!
responsible for the mista deliberate mis-actions taken by the IRS behi
actually doing? The IRS said; nfpre than six months after they paid me, that
part of the problem, assfming that we could even believe that a mistake wa: le. A person submits their tax returm, receives a
refund, and then is charged criminally for the mistakes of the IRS. That d em like an appropriate manner in which to cover

up a mistake, Since when does someone file a tax return, receive a refund, and en is required to call the IRS and ask if they
really meant to issue the refund?

decision, made solely by the IRS to do something
lated into criminal charges against me? How am |
curtain, where | had no idea what they were
yment just got out by mistake! So there we see a

—

| did not intend to defraud the United States, did not obtain payments on false, ficticious and fraudulent claims upon or against the
United States. The IRS, even if they were a bonafide agency of the U.S. government, has absolutely no evidence that | committed
any of the charged crimes or that | had the intent to commit the same. The fact is that the charged crimes were knowingly made
under false and fraudulent pretenses by Greg Flynn, IRS/CID Agent, which is a crime.
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- Banks give loans and credit based on our signature at which point the bank then monetizes the instruments that we have signed.
One does not get aloan based on the value of an object because the value of the object is not what is used in our present
monetary system. Jt is based on our own labor and abilities. When the bank issues what they claim as a credit to us, they are
actually only mongtizing the signed instrument and generating a computer or ledger entry at some represented value of units after
units are based on us and our labor. If this were not true then anyone would be able to go and
buy a car or a housgand have the object be the collateral and there would be no need for credit checks or any personal

is conducted into each of us Personally and then the credit is

 
     
  
  
  
 
  
   
  

 
     
    
 

us. By signing the d

ents/instruments presented to us we a
and ledgers it onto Mgi

ks. They use that ledgering to authorve fi r fractionalization of ledgge@y aesets per “Modern

Money Mechanics - ‘ook on Bank Reserves and Deposit ion” which is published by the Fe meye Bank of Chicago
and was first written 1. Those asset instruments are hen hed sold on the open mark@@—yexn the
“Comptroller of the ncy Securitization Handbook”, under Real Kstat vestment Trusts, or Cofatefalbe: bligations
and other such syst These items are now securities and the baNks have just been paid for these Ke lling them or
offering them in gro

submitting them for bonding and inco producing products.
{

A business cannot
back it up. Banks an out their own money and or their inveet money unless they make a Cc off¥ring for a specific
‘purpose and people i t in the bank for that purpose. When a bank? ives a document with a signature, thy are starting with
a clean even balance sheWt, assets = liabilities. How would they ledger the loan if they cannot Pay o ething that is not theirs?
They have to increase assets at the same time as liabilities and so i}\oiny this what can they use as $n asse&to create the liability

that they take when @bey agree to the loan, other than your signatur

a loan on assets it does not have oh will not allow a busingss without assets to

   

funds that they haa r have settled the debt that the bank cl to be owed. This income is get reported and the creator
of the security is not told that their creation has been used to ma eK e for the bank or the other age that used the
security. This is one of the main reasons for the bank scandals a the foreclosure issues that are f; g TAs country now.

Banks do not report ti ment back to the people who submit ose and are not notifying ividuals that the

Si

 
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instrument, and tgis amount is 100 % of the value of the original security. The security had no value prior to the signature when it
was originated an ‘was made when the bank offered the security into the marketplace. This created the issue of the
Original Issue Di as the security was sold for a premium price while the original issue was submitted without value. This
price difference a gain from the sale was a profit or income to the original issuer of the debt instrument or security

instrument.
d and had a duty at this point to infor
uty to inform. This then created a reQyir
parties to report this gain.’ The crea
file the details bec they were not the true beneficiary
original issuer, the erson who’s signature is on the doc

income. When an vidual finds out that a taxable event

When the en en converted and then submitted into the marketplace, there was a discount from the face value of the

 
     
 
  
     
   

  
 
 

The Banks were au
reporting and fidu
submitted by any

   
  
 

  
  

occurred, per title 26 of the equired to report,

such incident and what | feel is and was the appropriat&thing to do. | issued the tax raportingforms to have the banks
submit the pro d return the original issue gain backto the true creditor or issuer ny" instrument.

Title 26 § 6049. Returns regarding payments of interest

(d)(6) Treatment of l issue discount XX
(A) in general OO XX

+ Original issue discount on any obligation shall be reported—

A V\
IRS Publication AN ide to Original Issue Discount (OID) Ins ts ,
1 Form 1099-010...” \

   
 

Page6é: “The issuer “* instrument ... should give you'a.cop

° \

\

33A Am Jur 2dq ment original issue discount (OID) - « 1099-OID. OID of $10 or mo any obligation must be
l

reported as an intefest'Yayment (§ 60101) at the time it’s inclu ‘ the holder’s gross income ( 0 et seq.). (26 USC
6049(d)(6)(A)(i))
v- ves

\

A Form 1099-O1D Pion for each person who is a hol record of the obligation if the OlDNgcluded in the holder’s gross
income is at least $10!

@
of 30
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 9

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If the Sovereign is
foreign status, or
refused or dishonofed, then the Sovereign will use the dishonor to charge an involuntary bankruptcy action against any and alt

POLITICAL STATUS CLASSIFIED 7
trong a native born American;
Republic of the united States of Am Ny

3. fam a Sover blished by my geneology before the itution of 1787 was written o igned
4. | am a Citizen of epublic of Arizona; AY

5. lama flesh-a living soul;

6. | am an indigen overeign as well as a De Jure Natural izen of the Republic of the unt [oN declaring my
power and author; of birth and right of the Soil, retaining all substantive inalienable rights and i nities as described
in the Organic unit Republic Constitution.

POLITICAL STATUS CLASSRWED A-1 TRUTH FREEHOLD BY INHERITANCE Li RY OF CONGRESS DIPLOMATIC UNITY
DECLARATION OF INTENT AND CONSTRUCTIVE NOTICE OF EXPATRIATION FROM THE DE FACTO COR TIOMI U.S. GOVERNMENT
AND REPATRIATION IMO THE DEJURE ORGANIC REPUBLIC united StH erica (SEE Www gern Gg infor rka. html).
\

STATUS: INDIGENOU A-1 FREEHOLD BY INHERITANCE Nv
TO ALL WHOSE PRESENC COME & \V/\

1. Richard Kellogg strogg does state and declare my ert datriate from the United States. United States as used in
their document means cogporate United States, Washington, D.€/, The District of Columbia, or UB. mment,

Incorporated, as a for ommercial enterprise in the Legisla Wve, ot of February 21, 1878, forty- Corlgress, Session Ill,
Chapter 62, page 419. and believe, that I, Richard Kellogg Armstrong, am not and never was a Mfizen @f the United States

  
  
 
  
    

     

   
   
 
    
     
  
     
  
   

because: . ,.
- 1. f could have ne knowingly or willingly entered into-ar
principals, agents, or .

2. | could have ni een a part this fraudulent adhesion cont act the Government or the Co ave forced on me or the
American people.

3. | could not or would not have been involved with the adhe ed to me in the

en dntract if it would have be
beginning. Since it wa: it is fraud and is null and viod, :
4. | could not t. in anything that would violate my God ¢ yer rights that would be in dir flict with my
spiritual and religious belie » that are spelled out from Gods Word from tRalBook of Genesis through ee Book of Revelations. To

or obligation with the U States, or any of its

waive any of my God gi¥@n rights would be an unconscionable agreeme

My Expatriation fro ifited States Government to further p reve vel € violation of my God given rights by the United States,
its principal agents and as ig expat Na i

the pursuit of Happine# and any declaration instruction, opinioh r decision pf any officers of the government which denies,
restricts, impairs or questions the right of expatriation is hereby da with the fundamental principals of government (15 STAT
223-224, 1868, R.S. Section 1999, 8 U.S.C. Section 800, 1940. | GIVE MY LAWFUL NOTICE to the world that it is my intent to
expatriate from the United States Government.

1, Richard Kellogg Armstrong announce my claim of my birthright a Sovereign Armstrong, and declare my repatriation into the
Republic united States of America. , ,

As a declared Sovereign Citizen of the Republic of Arizona, | give my lawful NOTICE to the world of my claim to my Divine
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 10 of 30

Case 1:10-cr-00317-REB .Document 177 Filed 03/29/11 USDC Colorado Page 9 of 29

birthright as a sovereign. This has been proclaimed in the past, but | wish to restate my claim once again so that all concerned will
have no doubt.

A NATIVE BORN AMERICAN NATIONAL OF THE REPUBLIC FOR THE united States.

Having made proof of my status AT LAW, by way of my Declaration of Nationality as well as Sui Juris Indigenous private Sovereign.
The Supreme Court construction and application of Property Clause "ARTICLE IV Section 3, Clause 2” of the Federal Constitution,
confers upon Congr@s the powers to dispose of and make rules and regulations as to property belonging to the United States. 49
L.Ed. 2d 1239, See$63-C AM JUR 2d. Public Land at Section 40. This Sovereign is not property of the United States Government.

 

No Public PoliQiyof a State can be allowed to override the positive guarantee of the united States ution: ARTICLE IV
Section 4. We are teed a Republic Form of Government. This government and the Courts are
document (SEE:16 2d. Constitutional Law, at Section Q).

  
 
  

  

CERTIFICATE OF @XEMPTION ON INDIGENOUS GROUNDS, DI

    

In the Nature fer egeclaration of Non-Corporate Status, WRichan ellogg Armstrong, Ama living S Nove a Private
Human Being, a Credi nd claimant: | Am Not a “Statutory on” or Juristic person. | am domiciled on she verlay of the
Republic, otherwis@nown as the Republic of Arizona.

Whereas: I, Ric \logg Armstrong, do hereby solemnly dectare that 1. | AM a living SOUL, | am mpétent for stating the
matters set forth her, : 2. A living Soul, have personal kno iadge about the facts stated herein : 3. ing stated in this
TRUTH AFFIDAVI th, the whole truth, and nothing but he truth and all stated is true, correctl comMete and not
misleading to the One's knowledge.

NO THIRD PARWES ALLOWED ~~

Whereas: I, ard Kellogg Armstrong, AM NOT, a man madact ated entity: a corporation, a franchise, a subject of Briton,
The British Commonw, » the British Isles, the United Kingdom or the ly See, a citizen of England, a Fit#eMof the United
States, a 14th Amen citizen subject to the jurisdiction of the ed States, a citizen of America, a tgsider& citizen or
subject of any e&aaly tory, Kingdom or Land:

  
  
 
 
 
 
  
   

Whereas: |, R@gardeKellogg Armstrong, AM: a child of th High God, who created everything that B, vas, or shall ever

 

    
   

be, an heir of the Al {ELOHIM}, and therefore My Citizenship Gn the Soil which | am a Sojourner on Mi earth. | exist on
the Land commonly as Arizona, a Republic, where the Lan U¥orever belong to the people being blished by "We The
People.”

In the Word ofq§od, Genesis Chapter 1, verse 1, states asfagt: In the beginning God created the neh the earth, who
said “I, AM THAT | 0 Created all land and owns all land is Save ind so | am Sovereign: No court¢ai ide my -
Citizenship or politica s-without violating their oath of office. _-

Corporate Fiction an 1, DO NOT betong in the Courts of the Co G fate Factions. The entities named below corporations
and | hereby negatively ava over their existence: CITY OF DENVER, @&
DISTRICT AND CIRCUN@COURTS, WASHINGTON D.C., UNITED STATES FEDERY
DISTRICT COURTS, RITISH BAR ASSOCIATES, AND ATTORNEYS,

 
 
    
  
   
  

Whereas: |, pi Kellogg Armstrong, AMa living, breathir 8, sentient flesh-and-blood man, pro at |, AMNOT a

Whereas: | Ric! ellogg Armstrong, AM NOT in afficmati
and Factions and all gepartments, branches, divisions, subdivision3.¢ the above corporations, factions and all other limited
liability fictional entities. Furthermore, | object, and do not ratify, the use of the ALL CAPITAL NAME. THE ALL CAPITAL NAME is a

fictitious person doing business as. When anyone is doing business as, he is entering into contract. The ALL CAPITAL NAME is prima
facia evidence that one is doing business with the STATE. .

rather | DENY the existence for the above Corporations

NOTICE TO THE CALIFORNIA STA TE REGIS TRAR

Whereas I, Richard Kellogg Armstrong was born in the Republic of California. The State Registrar is the CUSTODIAN OF
PROPERTY TRUE NAME, TRADE NAME, SPELLED IN ALL CAPITAL LETTERS RICHARD KELLOGG ARMSTRONG and looks after your
personal property. The so called “CUSTODIAN” is not to give the property to anyone else. This order is to put a "permanent
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 11 of 30

Case 1:10-cr-00317-REB Document 177 Filed 03/29/11 USDC Colorado Page 10 of 29

roadblock” in the path of any who would use my name as SURETY. That property could not be touched by anyone other than the
State Registrar and Richard Kellogg Armstrong who occupies the office of Executor of the RICHARD KELLOGG ARMSTRONG Estate. |,
therefore, am able to demand surrender of custodianship of the property and receive it. Note: also that this “Act” uses the non-
judical (common law) term “authorized representative” instead.

  

Whereas: The FRANCHISE, BIRTH and or TRUST CERTIFICATE was created and offered FRAUDULENTLY and DECEITFULLY,
supposedly to aid in the Census, as a means of identification, to document birth and for health reasons and purposes. instead,
the true nature of th TE is an UNREVEALED COMMERCIAL AGREEMENT, and unconscionable adhesion contract with

an Agency of the F Corporate United States, the Depa t of Commerce. The true n DATE OF BIRTH is to
execute the birth craic by signing, filing and recordinnot the natural person.

Whereas: This TRU STRUMENT has deceived Richard Kaige X
myself and my fellow rican Citizens into the jurisdiction of th
originating from the t of Commerce, pursuant to the Al RIZING from the Depart
authority of the ey or the UNITED STATES OF AMERICA TION OF 1789 and by fi lently pla

Citizen under the jurisigtioff of equity, Admiralty or Maritime jurisdictions of the Federal TerritoridCourt System,
CC) of 1969. :

  
   

  
  

   
 
 

and the
Uniform Commercial C

    
    
  

Now, therefore:
affidavit using their gi
of this document.

any man or woman deem that the statements above are not true, | n answer by notarized
at Birth and Married Name if differen autograph signature written ten®10) days from the date

Unrebutted after thity, (30) days from the date of Court sane Res this affidavit starMds as Mct in the DISTRICT

 

COURT OF THE UNITED STATS OR THE TERRITORIAL COURT of the U IKEDSTATES DISTRICT COU r any Court in the land
including the Tribunal Courts. .
Ss
That: |, Richard Kell trong, to regulate with Foreign Nati among the several S' with the Indian Tribes
(SEE: U.S. Constitution, , Section 8. Clause 3). Indigenous g has declared and estabNghed SW Juris Status in
connection with bothyny pi and names. | demand a certified with My signed authorizatifin of all documents or
contracts being held-in-due-Course, pursuant to UCC 3-305.2 UCC §-to5\62 and UCC 3-505, that creat egal disability to the

claimed “Sui Juris” status ‘and alien jurie relating to my “Name”. My "Name” is my property and for MyWRame'¥o enjoy “Sui Juris”.

Status, My "Name must he fi f legal disability resulting from a cq
course or by any agency o ederal State, County, or Municipal go

  
   
  

fact or commercial ve s being held-in-due-
™ ent.

That: J, Richard Kel strong, revoke all powers including»but it limited to, Powers of ey and Agencies. |,
hereby DISSOLVE AND TE E any franchise connected with the BIRTH CERTIFICATE OR TRUST IN: IT. | hereby remove
ail commercial activity iag but not limited to, the Limited Liabittty Act for payment of debt. Ie release the -
Department of Commer: ents and judiciaries, of their obligatidh to perform any commercial duMes or responsibilities
toward Myself. 1 AM NOT i merce or involved in any commerci ties with the federal corpo States
Government or any subsidiary. ,

 

    

N
Hy
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 12 of 30

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THIS IS A LAWFUL AND LEGAL NOTICE OF CLAIMANT REMEDY

   

To ALL PUBLIC OFF by and through the Secretary of State of Arizona, ail letters or communic

   

writing, via Notary Pre t, signed in blue ink under pen. erjury. This NOTICE is in thin MIRANDA WARNING
for the record and on t d and let the record show, if fo ason you do not understand Any o atements, or
waming, it is incumbent you to summon a superior officeR¥x $ isor immediately to ex ortance of this
Presentment [NOTICE]. will be NO IMMUNITY from prosestion. (SEE: CLEARFIELD TRUST 2-371, 1942)

R rod Re sraTus
1, Classified Truthreehold by Inheritance “
2. lama signer epublic for the united States of Atnerica

3. My Political S larified, Truth Freehold by inheritayce
4. | have resci see contracts as a Secured Pa itor UCC 1 #RKAUCCO001
t

of the Republic for expatriation eon fiction is here lared, consistent
xX S

of Government (SEE: 15 STAT 2236224 868) R.S. Section 1999, 8 I ection 800, 1940).

    

with the fundamental princip.

affidavit with sound gj untary actions. _f
1, Richard Keltogg Armstrong attest to the fact that | am si
and the Enabling Act Guarantees a "Republic Form of Governme

N AFFIDAVIT OF VV
|, Richard Kao Aes, Am competent to handle my ~ irs, | am over the age of 21, and d lemnly make this
a

of the Republic of the State bf na, whose Constitution

Th RATE UNITED STATES IS IN VIOLATI THE ORGANIC CONSTITU OF 1787
AND THE BILL OR RIGRYS 1791

1, Richard Kellogg agers, attest to the fact that! ama Citi2eg of the Republic for the ite whose Constitution of

1787 is the Supreme i
On December 18, 20108 T?Richard Kellogg Armstrong, filed into istrict Court of the windy notification that |
in

have now occupied the office of Executor of the RICHARD KELLOGG ONG Estate, as evidence the Court record and by

certified mail to the offic overnor of the STATE OF CALIFORNIA, office of Attorney Gener: the STATE OF
CALIFORNIA, The Administti ffice of the United States Courts, Ja . Duff, Director, and the inte govern Service
Headquarters, Office of Chief nsel, William J. Wilkins.

e the truth, the whole truth and nothing but the truth.
Any objection to these s made within this affidavit shoul ade within ten (10) business days to the address listed
below or forever hold your. peacé,

a »
THE FOLLOWING FACTS

  
 

  
     
    

These Statements ma ichard Kellogg Armstrong the prin.

The Supreme Court has ruled that where the Grand Jury Process is abused and the accused objects to the indictment before trial,
the indictment should be dismissed where there is a showing that the abusing party “substantially influenced the Grand Jury's
decision to indict, or if there is great doubt as to whether it had such effect (1d78). :

The court should take notice that the affiant cannot obey an order that is not taw from the beginning. Title 18 is NOT
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 13 of 30

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Constitutional law as the signing did not meet the requirements of the Quorum Clause of the Constitution, Article |, Section 4,
Clause 1 and according to United States v. Ballin, 144 U.S. 1 (1892), A QUORUM IS REQUIRED TO PASS LEGISLATION (PUBLIC LAW 80-
772). Public Law 80-772(2), more specifically Section 3231 thereof, 62 Stat, 826 which Purported to confer upon the district courts
of the united States original jurisdiction of all offences against the laws of the united States. these legislative acts violated the
Quorum, Bicameral and/or Presentment Clauses mandated respectively by Article 1, Section 5, Clause 1 and Article 1, Section 7,
Clauses 2 and 3 of the Jonstitution of the united States. To imprison and detain a Petitioner and cause him future harm under a
void judgement order unconstitutional and untawful. therefore, Petitioner must be discharged from any present illegal
confinement and judg declared void to prevent future harm. the Supreme Court has declared in Glover v. U.S. that
even one additional da%jg prison without authority has Constitutional significance (531 U.S. 198, 2001) (See Exhibit B).

  

    
  

WRITTEN ALLOCATION RELATED T'

 
 
 

and every request under the pena peNury. This
Your failure to answer would gj chdige but to

|, Richard Kellogg Arms: demanding that the prosecution an i
response is cruciat to se and my right to due process ana

subpoena this evidenc the jury (See Exhibit C).

If everything that might ence a jury must be disclosed then ASwe 4 prosecutor could discharge hisConstRutional duty
would be to allow comp covery of his files as a matter of rodtine practice. (See U.S. v. Agurs 427 U.S.
342. 96 Sc-2392) The pro or refused to disclose facts that hid

transcripts.

This Order and sce Nec cease any further Government
TRADE NAME, BIRTH CERTIFRMATE, TRUST, SURETY, INCLUDING ALL
PERFORMANCE AND PAYMENT BONDS, GSA 24, GSA 25 and GSA25A
claimed by Richard Kelléyg Armstrong as Collateral and hereby Te:

Freedom of Information re for disclosure of all criminal bond
Exhibit A).

     
   
   
   
  

ig t*\ Grand Jury

of RICHARD KELLOGG ARMSTRONG
,» NOTES, SECURITIES, ALL MILLER AC® BON , ALL BID
ated to any cases, judgments, etc. These Ronds re now

ated from want of consideration. The affeaghas filed a
‘boi ing or otherwise as requested in this document (See

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Whereas I, Richard KAR rmstrong, have stated the facts and theevitience of this injustice. This ennai no

authority over a Sovereign of the Republic of the united States. ecutor of the RICHARD KELLOGG ARMSTRONG Estate, |
therefore demand that v be dismissed with prejudice a ; as my immediate release from =

fraudulent from the begi
° threaten, intimidate or harass but is my remedy in law. NN
were S ,
te Registrar, Tenth Circuit Court of Nes

March 2, 2011 %
CC: Jefferson County Sheri pt., Colorado Supreme Court, Califo
District Court, Supreme Co the United States, U.S. Provost » James C. Duff, Administrative Office of the U.S. Courts,
Office of Chief Counsel, Of Policy and Public Affairs, U.S. D f Justice, U.S Dept. of the Treasury, U. S. f

Commerce, U.S. Dept. of Tgansp rtation, U.S. Dept. of State, United ations, Arizona Supreme Court and Office of Chief'Counsel,
IRS.

This document is not inte

 
   
 
 

Return address: .
Richard Kellogg Armstrong ,
1310 Parkside Village Drive

Chino Valley, AZ 86323
14 of 30
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page

i 29
Case 1:10-cr-00317-REB Document EK Lys Sg USDC. Colorado. Page 13 of

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rds 2840 oo01 5749 5525
- Certified Mail Number 1008 -28/0~tho/- SI/I- $5257 Memorandum of Record
AGENCY: /DEPARTMENT: |. _-DIRECTRESPONSETO:

US. Ce. JUSTICE
TO: ' . oO

   

 

ExecutigMOffice for Untited States Attorneys S
600 E W., Room 7300 OR
nformation/Privacy Act Unit A

Washitlyo®, D.C. 20530

 

 

   
   

 

In accordance with 28 dg § 16 fi(d)

SURE OF ALL CRIMINAL BONDS BONDING, OR O

: "| IDENTIFICATION PFREQUESTER:
BELOW — NAME OF DEFENRANT ~ Case No, JO- Wr.

  

’ Dear

This request is made pursuant to the provisions of the Freedom of Inf
§552 the Privacy Act 5 U.S.C. §55 i é

     
      
   
   
 

  

and/or ntained in the files of et
identi y name. This request sought herei
imes ing Information and/or Case
your De; ent and/ or Agency,
The Sought specifically but not limi
(1) Cr Case Boriding Information (2)
of the inal Case listed above (4) Certifi correct copies o Bond(s) nd
teen per
length of time of
"Wi, corporations,

BondW¥f Certification 5 U.S.C. §552 (a)@Q)(A
No are the compiled files coMMajning: ° a
Wuimercial Bond Certification (3 ak Criminal
Case Bo! and/or the Bond(s) which secured t financing and/or the pl for the financing
iduals and/or

The expiration date and speciited interest for the specifi
these B (7) Which governmental body anf
companies, associations, firms, partnerships, socis;
' Officers ff) secured the-Bond(s) (b) hold’the Re
s co Bond(s) not otherwise
, iX2), )(2) or law Public Citizens Dept - 440,905 L. Ed
377, 10RS. Ct. 2552: Dept. of Justice v. rters Comm. (1989) 489 Us, 749, 103.L. Ed 2d

  
     
 
 

774, 1 Ct 1448; Detroit Free Press v. Dept. of Justice, 73 F. 3d 93 (1998); FBL Vv.
3 sek 65 US. 615 72'L. ed 2d 376, 102.8. Ct. 2054 (1982) including exemption ~ u.s.c..

If th information, records and/or data requested are placed, filed, secured and/or held in a
separate, different and/or distinct file by or under another name, number or identifier other than
the case docket number and/or identification(s) Listed above I authorize and request your
Department and/or Agency to open and/or access that file for all the information, records and/or

uested herein, .

It is futher requested that your Department and/or Agency in response to all the information

Tequested, specifically inform me if and to what Bovernmental body and /orto whom and/or what
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 15 of 30

Case 1:10-cr-00317-REB Document 177 Filed 03/29/11 USDC Colorado Page 14 of.29

“person” previously described, ‘has been released and/or disclosed: any of the information and/or.
-material requested herein, their name, title purpose and need for such information and/or
material, the date of release, and the specific ic information and/or -material “released and/or
disclosed such inforrfiation and/ or material and the specific: reference to authority, statute or
regulation governing such release and/or disclosure’5 U.S.C. §552a(b)(1)---(12), v1}. or

   
   
    
  
  
  
 
   
 

   
   
  
   

     
     
   

. Gy at ahant Re Rose, P.L.C. v. US. 138 F. 3d 1 75 (1998); Ray v. of Justice 720 F. 2d.
_ Your Depafiment and/or Agency i is advised that nding and/or Bond(s) i
reports in totgre"enkeng T.accord exempt status er specific exemptions
only with refé to specific citation of authority, . Department of the Treas
F. Supp. 102 QB; Akins v. Federal Election Com’a;.101 F. 3d.731 (1996); Gummg
180 F. 3d 282 (CRaWY); Solar Sourses Inc. v. U.S., Wane S03 (1998), i
I agree to pay gin reasonable costs or Sea appli request, above and/ or Roya
specified allotsegof costs or fees peiala at no‘ebarge pursuant-to The Uniform\’Mcti
Code, The 0a nitorm FOIA Fee § Schedule & Guidéitr 8 §6(b) Fed Reg 10017, in i

arges os pursuant to SUS. saad

Pursuant to S C. §552(a)(6)(A)(i), it is noted ‘Department ‘and/or Agenct ‘has t
(10) working ‘aay following recei -of this request ta provide me- this informati
thaterialasoug®, Should any delay occur, it is reques at your Department and/og Ag
inform the ofgtfme delay ‘as provided by 5. U.S.C. §382(a)(6)(B), and the- date -w:
Department pgency will be.able to act. In the a at at I do not receive the res
the .specified Yiaeprovided by statute, I will then béN pursue other rem
Citizen v. F.T.Q 869 'F. 2d 1541, (1989); Blazy v. Te: S94 F, 3d 90 (1999); GMRI_ Inc.
E.E.0.C., 149 F, 38.449 Crpexi

“T certify under penalty of try under the laws @&T ' United States of America in
of [28 U.S.C.9§1746(1)], that | T he have read the forego? etoihe request for information and
contents th } that the information listed ¢ es fue, correct and complete. ,

Executed this day of. 4a 8S
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 16 of 30

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

rd Kellogg Armstrong this brief is copyright
etitioner/Defendant © 2010
Ag 10-cr-00317
Vs. SS

nS STATES OF AMERICA \

espondent/Plaintiff t Verified

Ww Affidavit V\\
| \ ACTUAL INNQCENCE CLAIM

MOSION FOR DISMISSAL OF INDI
COURT HAS NO JURISDI
& I. PRAYER)ROR RELIEF /\
N\
igmotion to dismiss is filed purshght %9 F.R.Crim.P. 12(b)(3). Peti les
this

d to a Constitutional court to haye/ proceedings dismissed with Pej
\

 

  
   

 

   

 

    
 

   
  
  
  
 

 

- When jurisdiction is challeng I

the challenge. Rhode my

jon is challenged, all proceedi ust

as court of jurisdiction exists in this
p must cease pending the outco
Mass etts, 39 US 657 (1838). “Once juris

cease. The government of the United States m: erefore, exercise all, but no m6re than

all of Py power provided for it by the €6
A. 4 Findings of Fact

Petitioner requests the court take mandatory judicial notice as confirmed by
Congressional records pursuant to F.R.E. 201 of the following facts in this case:

1) That no quorum was present for the House of Representatives vote

EXHIBIT B
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 17 of 30

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on Title 18 (Public Law 80-772) on May 12, 1947', as confirmed

by Congressional records, and that was the only vote on Public Law

Y 80-772 in the first session of Congress in 1947;

S
&

5)

   
  
 
  

That no other vote occ confirmed by Congressio
records, by the House of tives on Title 18 (
80-772) in 1948,

That Congress adjourned at A.M. on June 20, 1948, and Ns
was completely adjourned ahd no quorum was present wih fr
president pro tempore of the S and the Speaker of th

“signed” Public Law 80-772 23, 1948. \\

That Public Law 80-772 con » jurisdictional section, WRBEC

Section 3231 (1948), a Yy section of that bill \

gives the court jurisdictiohto secute crimes against individuals:

\N
B.' $Findings of Law
resid More this Court take mandatory ial notice of the law of thet

 

' The rules and practices of the House of Representatives governing quorums and
voting on the floor are closely intertwined, and derive from two provisions of Article
I of the Constitution. Regarding quorums, clause | of Section 5 states in part that “a
Majority of each [House] shall constitute a Quorum to do Business; but a smaller
Number may adjourn from day to day, and may be authorized to compel the
Attendance of absent Members, in such Manner, and under such Penalties as each
House may provide.” Regarding voting, clause 3 of the same section provides in part
that “the Yeas and Nays of the Members of either House on any question shall, at the
Desire of one fifth of those present, be entered on the Journal.”
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1) That according to the Quorum Provision of the Constitution
C of the United States, Article I, Section V, Clause 1 of the

Constitution, a quorum is required

   
  
 

“Each House be the Judge of the
NS
and Qualifica 0 own Members,

y
SS "each shall consis» Quorum to do Busi
N
N

authorized to coPhael the Attendance of ab embers, in

such Manner, an such Penalties as House may
\ ‘eens

provide”. CK
That according to &n, States v. Ballin, 1 -S. A(1892),
&

 

  
  
 
  
 
 
  

   

@ quorum is to pass legislation.” lic Law 80-
‘ee ‘
? United mt, 144 U.S. | (1892}" is a decision Rued on February 29, 1892 by the UNM States
Supreme Court ing the constitutional definition of aus rum to do business" in Con ustice
David Josiah Brewer delivered the opinion of the unanimous \Cbirt, analyzing the constitution tions
for the United States Senate and United States House of Rep ives when determining thei of
Proceedings. i ; the Court noted that it is well powers of the House and to
establish their for verifying the presence of a majatity of their members.
we

The case was t up after the U.S. Board of General A sers affirmed the decision ollector

    
 
 

of New York ify imported worsted cloth as wooten. order to levy a higher rate of custo, .
The importers ged the validity of the law authorizing ihe duty increase, alleging an absence of a
legislative qudtum when the law was passed. On appeal, the Circuit Court of the United States for the
Southern District of New York Sustained the claim of the importers and reversed the decision of the Board;
the United States appealed to the Supreme Court. The Supreme Court reversed the judgment of the circuit
court, upholding the Board's decision, and establishing unambiguously that when quorum is present, votes
of a majority of that quorum are sufficient to pass a bill in Congress.

 
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272 which purported to enact Title 18, United States Code,

Act of June 25, 1948, Chapter 645, 62 Stat. 683 er seq., and
On Marc 8, the Ways and Means Committee of the House had Started review ofthe
bill whic ntually pass the House on May 2

Dingley, Jn known as the Worsted act, would "
Classify as wi cloths all imports of worsted cloth, i

 

 
  
 
  

Worsted ¢ up for vote on May 9, 1890, garneri
Reed req ll call, and 74 representatives were
present ig to vote. The speaker concluded

withholding: otes (in total more than 166 representagy
The House the time comprised 330 seats 21 Since 138 yeas
present, the declared that the Worsted act had bees

 
   
  
  

in, Joseph & Co imported into Ne: York certain manufactures of w
Worsted act, the collector assessed Tate prescribed at the time for
contended that the duty collected cess of what the law i ing

  
   
  

¢.121. In their request for the Board of General A the
that the Worsted act had been enacted in }iglation of Article 1, Section 5 of
nited States. In particular, Ballin quorum of the House liad
was taken and therefore the bill had
On October ey, the Board ruled against Ballin. j merville drafted 1 's
decision, conclu@t that the act of May 9, 1890, had been ituti enacted and that the
been co: by the New York collector Therim p appealed to the Circuit Court oMhe

United States for thern District of New York, wh bversed the decision of the Board. ci
court reaso: that the act Congress had passed "exr, iy confined the exercise of its powers

Secretary of the Treasury, in exclusion of any other officer
bounds,
#n Attorney General William and
ment. Edwin B. Smith

Was the act of May 9, 1890, leg
» the Court issued its unanimous

   
  
 
    
  

 

 

passed?, and ; the act's meaning? On February 29, : ;
addressing both questions in turn.

  
 
 
 
 

The Court uming that information recorded in tha}
effectively dismissed aMty claims based on possible mistakes in teh
Reed's actions ay 9, 1890, as recorded in the journal, act
Rule XV had, ly enacted under the Rules of P
Section 5, C

  
  
 
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I'D 202

(2) more specifically, Section 3231 thereof, 62 Stat. 826,

which purported to confer upon “the district courts of the
United States... Original jurisdiction ... 0
against the nig United States.” These
Acts violated e rum, Bicameral and/or

Clauses manda’ bi by Article I, § 5, &. 1, {ys

Article I, § 7, mN and 3, of the Constitution of A
States. The fe district court which ‘o i

ioner, under Section 323% lacRed

  
  

     
    
  
 
 

commitment of this

jurisdiction and, then re, any judgment and co t

To imprison and detain a Patti
under a void commitment ord
wiul. Therefore, Petition

be discharged from present illegal confinement Nes
indictment or info

order is void ab §,
and cause him future

is unconstitutio

in Glover v. United Stdt t
in prison without authority has
Constitutional significance. 531 U.S. 198 (2001).

One bill, FLR. 3190, was allegedly passed by the House of Representatives on May

12, 1947, in the first session of the 80th Congress. In fact, it was not passed because no

quorum was present.’ A second, distinct, amended, and entirely different bill, H.R. 3 190,

 
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was “passed” by the Senate in the second session of Congress in 1948. The first bill, the

bill, was allegedly truly enrolled, but as evidence now discloses, no quorum was

 

preset for the passage of the bill. The second bill, the Senate bill, not passed by the

 
    
 

Hous, was signed by the Speaker of the House and President of the Ss
1948, Ongress was fully and com adjourned and disbanded,
and n was present. Evidence pravent rein now establishes th

not by the House in 1948, as the DDNse has now admitted. Thus,
\
viol; quorum clause of the = twice. The first violation y 12,
\

  

 

businessn essence, it is similar to the saying “majoriNeules”. If there were no such requi as this,
the foundin were fearful that a few rogue of Congress might be able to meet and
Voting m id represent only a fraction of ican

the views ofthe American people. This “quorum ” is

  
 
   
    
      
   

   
 
 
 
     
    

it cannot be changed without a pepstiteitideea
a “.++& Majority of each [House] constif
a journ from day to day, and may be
anner, and under such Penalties as each

In ice, parliamentary rulings in the Duis;

    
  
  
    
 
   

have de! uorum in a more liberal sense. It has beer

the memi h house. However, as time moved forward, so did the definition of quofte, The
quorum req) choos, Past is presently definetNby established precedents to be a “mjoGA the
members who are “chosen, sworn and living.” The rhs: significant aspect of the current.intenttet for

the p i uity of government is the provisied that only a majority of the living m mRers ¥
to be vote rather than a majority of the te number of seats. This current interc ion of
the quorunigrquirement ensures that Congress could opersip.even after a massive death toll, but it.s6ii call
into ~.. of any legislation passed i dedessary.

Ti f the United States Code wat chacted Hy legislation allegedly “passed” by the House of
Representatives dh May 12, 1947 and then by the SOgpKon June 18, 1948. Yet, an analysis of the vote used
to pass th¢ylegislation in the House of Representati fes ‘shows that no quorum existed at the time the
legislation was passed. In fact, the Congressional Record, shows that on May 12,
1947, there were only 44 members present out of the total 435 members who are enrolled in the House of

. sho
103 members present) and was objected to based on this quorum issue. Petitioner requests the court to take
mandatory judicial notice of 93 Cong Rec. 8392.
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1947, when no quorum was present for the House vote. The second violation was in the
second gession of the 30” Congress in 1948, when the House never voted on the bill.
Thus, rding to the Constitution, and Supreme Court precedent, the act must be

 
    
 

declaredygnconstitutional. See United . Ballin, 144 U.S. 1 (18

 

branch ofthe question is whether, a quorum ihg present, the bill receiv a suf

number tes, and here the general es f all Parliamentary bodies G\ge when a

quorum Dee the act of a majority of thi quoruim is the act of the body”)\, \
signed into law by Presi “it Truman on June 25, 1948,

Senate b passed by the House, not the Ho bill which was truly enro.

  

. completely adjourned and fo rum
was presen’ Wagerefore a political law and nee authorized by Congr

Rg igned into law as Public . 80-772 was also not oe the
Federal Re required by the Federal Register Act, 44 USC § 1501, ‘Vi 35)

and therefo purported enactment is in ion Of Due Process.

PRA
WHEREFORE, PREMISES CONSIDERED, t submits this win.
Affidavit andfecsfilly prays this Honorable :

 
   

S
A. Dec] . e findings of fact of Petitio ob judicially noticed on the NN
B. Decl thokindings of law of Petitioner to be judicially noticed on the rec iu
C. Declare Public Law 80-772 and 18 USC section 3231 unconstitutional;
D. Declare Petitioner actually innocent of any alleged crimes charged;

E. Issue an immediate order of release of Petitioner, :

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Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 23 of 30

. Case 1:10-cr-00317-REB Document 177 Filed 03/29/11 USDC Colorado Page 22 of 29

F. Grant such further relief as this Court deems just and proper.

Ddte this /7t2 day of June, 2010.
Bagetuy submitted,
& \

iz: : : LL 4 Ww
Richard trong Ss \ \
. 8
CERTIFICATION UNDER PE OF PERJURY

I], d Armstrong, certify on this the >

  
    
  
  

day of June, 2010,
oN
Pursuant M28 USC § 1746(1) that the foregoing is mee correct. «

ys xX (\
\

Richard ig

  

, a true and correct copy of this

for the opposing party as m™”*S

TIFICAT
On this day of“ Lisce
Notice w. ed on the Office of the US Attom:

by law.

 

 

d PROOF OF FILING
2% WhyocHy 22/
On thisthe 2o==  dayof terre ; Soie4 true and correct copy

of this Motion was served on the court by delivery or fi

Richard Armstrong ¢ . x

rst class mail, or better.
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UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

Richard Kellogg Armstrong
er/Defendant

 

. :10-cr-00317-REB

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i (/\\
Verified

idavit
TTEN ALLOCUTION mit O ARRAIGNMENT

Vs.

UNITE ES OF AMERICA
dent/Plaintiff

SPM kt Sr CP SP) > MP

 

  

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Xv L

Petitioner notes to the court that Petitioner }

Petj was charged by criminal cman ort May 18, 2010 as stated obey

    
   
 
 

 

M. Flynn, Agent for the U.S. Internal Revenue Service, Criminal Investigation DiviXon.
‘

=e indicted, charged with crim ainst the government. This co

asserts its j iction pursuant to 18 USC section 3231 q

ive his right to counsel, as \
the right to have a written NX

interview 0 potential counsel to determine his competence pursuant to the Sixth
6

Amendment of the Constitution. Since Petitioner’s very freedom is at stake, then Petitioner has a

PetfoQypoies the court that Petitioner does n

according a by Supreme Court and Constitution,

right to determine the authority of the charging parties. See Federal Crop Insurance v. Merrill,

Exneir & 1
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 25 of 30

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332 U.S. 380 (9947).

Petitiongr now issues this written statement related to arraignment and requests that the

   
  

government Sw ollowing documents and answer the following questiongin order to

protect Petition€Xs Constitutional rights. Petitio as not only authority, but a d
™\
that the governm cials prove that they are Asting on behalf of the governmen’

1. eS requests that the U.S. atte ) assigned to this case provide N
[*
copies of their Shy and certified copies of their identifications as employees of

 
  

States gove etitioner also requests that the luce any bonds which und:
activities for ernment and provide all contactNnformation related to those bon
including names, sses, phone, fax, and email, of th bonding company. NN,

2. Pétjoner requests that the IRS agents is case provide certified “ry

demiction in that they work for the Unit States government, and are no

unregistered foreign agents, as well as a ey names they have used in

are the names on birth certificates. \ \
3. P requests that the judge in tie case produce his original or a certifi

copy of his oath Pee his appointment affidavit, z

Q

      
 

any other documents which
that he is appointed to act as an Article III judge in pase.
pel Yy requests to inspect the o: charging instrument in this cast
determine if it is. id charging instrument with original wet ink signatures.
5. Dy requests that the U.S. Attorney certify the charging instrument as true
and correct before the court during this hearing.

6. Petitioner requests that the U.S. Attomey certify before the court that he/she will
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records.

  
  
   
  

certify before this court thafthe/sh

pursuant to 18 USC Reon 3231, and that sate wes ‘A

Constitutionally in 1948. \

requests that the U.S. bomey certify before this court taffy enor

8. P
anyone that a U.S. Attomey in a tax related case has ever received bonuse,
compensation forYrosecuting a tax related case. ~ (\
9. Petitioner requests that the U.S. Attog certify before this court that roe
anyone that has Federal Judge in a tax case has ever received waly/\

compensation Yjggsi n the bench in a tax relay

10. — Pet@&\pner, ify before this court that the¥fite

Revenue Service i OF AMERICA. \Q

ll. P er requests that the U.S. Attori¢y certify before this court that th RS"
holding all grand Meo as required by Supre: precedent and the U.S. leys’s
the Grand Jury Foreman’s oe
stamped a grand jury foreman’s nami

office holds no grand jury records and has no stamp
12. rail Des that the U.S. Attorney certify before this court that

e
Defendant’s rights were properly presented before the Grand Jury.

   
    
  

their office and thatthe WS. Attorney’s office
* e

on a document.
Case 1:10-cr-00317-REB Document 735-19 Filed 01/17/14 USDC Colorado Page 27 of 30

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13. 4 Petitioner requests that the U.S. Attorney certify before this court and produce the

 

Grand Jury I¢gs to establish if any no-bills occurred during the life of this Grand Jury.

   
  
 

Petitioner requests that the U.S. Attorney produce an invoice dant
identifying pay for this case.
joner requests that the court appdinty second transcriber in this
seca gre Keri this case under the direc mor the Defendant, in order to \. the
Defendant’s # protected and that proper mw complete transcriptions are doffe, is
x
NS PRAYE Neeuns ~~
— oN

Petitioner is being arraigned on accusation of serious crimes. Petitioner’s veri is

at stake. Petiti uests that the proceeding e ions be provided with answers

arraignment, am rices ces the court that Petitioner “4 not waive his right to counsel as

guaranteed b nstitution, but requests the ri interview counsel in a written intefMlew

    
 

to determine their competence pursuant to the Sixth

Respectfully AN. Q
LaDy laeeb oe
e ‘

Richard Kellogg Armstrong
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CERTIFICATE OF SERVICE

Kellogg Armstrong, certify that on thisthe 24/7%  dayof
2019, a true and correct copy was sent by first class mail, postage prepaid, or
better, to oppgsing counsel of record.

kebadZ. XQ
x AR

. PROOF ING
On this 7H _dayof \ 2019 a true and correct copy $f
Moti ed on the court by delivery t class mail, or better.

 
 

  

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Kreg fives i“ Aas aD ote 1

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UNITED STATES DISTRICT COURT
DENVER, COLORADO

MAR 29 201
GREGORY C. LANGHAM

CLERK
CR

Away 14, 2018 OE.

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